Case 3:19-cv-01226-L-AHG                Document 103-2            Filed 01/16/23         PageID.8686          Page 1
                                                   of 3



   1   John W. Dillon (Bar No. 296788)
   2
       Dillon Law Group APC
       2647 Gateway Road
   3   Suite 105, No. 255
   4
       Carlsbad, California 92009
       Telephone: (760) 642-7150
   5   Facsimile: (760) 642-7151
   6   E-mail: jdillon@dillonlawgp.com

   7   Attorneys for Plaintiffs
   8
                                        UNITED STATES DISTRICT COURT
   9
                                    SOUTHERN DISTRICT OF CALIFORNIA
  10
       MATTHEW JONES, et al.,              ) Case No.: 3:19-cv-01226-L-AHG
  11                                       ) Hon. M. James Lorenz and Magistrate Judge
                     Plaintiffs,
  12                                       ) Allison H. Goddard
       v.                                  )
  13
       ROB BONTA, in his official          ) DECLARATION OF JOSE CHAVEZ IN
                                             SUPPORT OF PLAINTIFFS’ NOTICE OF
  14   capacity as Attorney General of the ) MOTION AND MOTION FOR
       State of California, et al.,1       )
  15                                       ) PRELIMINARY INJUNCTION; OR IN THE
  16   Defendants.                         ) ALTERNATIVE, MOTION FOR SUMMARY
                                           ) JUDGMENT
  17                                       ) Date: January 16, 2023
  18                                       ) Time: TBD
                                           ) Place: Courtroom 5B (Fifth Floor)
  19                                       )
  20                                       ) Second Amended Complaint Filed: Nov. 8, 2019
       ____________________________ )
  21
                                             No oral argument will be heard pursuant to local
  22                                         rules unless ordered by the Court
  23

  24

  25
       1
  26      Rob Bonta is automatically substituted for his predecessor, Xavier Becerra, as
       California Attorney General, and Allison Mendoza is automatically substituted for her
  27
       predecessors, former Directors Louis Lopez and Martin Horan, and former Acting
  28   Directors Brent E. Orick and Blake Graham. Fed. R. Civ. P. 25(d).

           Declaration of Jose Chavez in Support of Plaintiffs’ Notice of Motion and Motion for Preliminary Injunction; or in The
                                                                                      Alternative Motion For Summary Judgment
Case 3:19-cv-01226-L-AHG             Document 103-2            Filed 01/16/23         PageID.8687          Page 2
                                                of 3



   1                                 DECLARATION OF JOSE CHAVEZ
   2   I, Jose Chavez, declare as follows:
   3           1.       I am over the age of 18. Currently, I am not a party to this action. I make
   4   this declaration based on my own personal knowledge and, if called upon to testify as
   5   a witness in this case, I could and would testify competently and truthfully to the facts
   6   stated herein.
   7           2.       I am a 20-year-old resident of Tracy, California. I currently live in San
   8   Diego while attending the University of California, San Diego (UCSD). I do not have
   9   any criminal history, nor am I a member of the armed services or law enforcement.
  10           3.       I am currently a member of the organizational plaintiffs involved in this
  11   case. Specifically, I am a member of the Firearms Policy Coalition, Second
  12   Amendment Foundation, and the California Gun Rights Foundation.
  13           4.       I do not have a California hunter’s license issued by the California
  14   Department of Fish and Wildlife. I also have no interest in obtaining a firearm for
  15   hunting purposes.
  16           5.       I do not currently own any firearms but wish to purchase at least one,
  17   such as a shotgun or rifle (including a centerfire semiautomatic rifle) for self-defense
  18   and other lawful purposes.
  19           6.       Except for the California law (Penal Code § 27510) banning my right to
  20   acquire or purchase a firearm due solely to my age, I would immediately purchase,
  21   acquire, and possess both various forms of long guns in California for self-defense
  22   and other lawful purposes.
  23           7.       Further, I am currently eligible under the laws of the United States and of

  24   the State of California to purchase, acquire, and receive firearms.

  25           8.       Most recently, I went to Moreau Works LLC, a gun shop in San Marcos,

  26   California, to purchase a long gun and/or centerfire semiautomatic rifle.

  27           9.       On information and belief, Moreau Works LLC was a duly licensed

  28   firearms dealer within the meaning of California law (Penal Code sections 26700 to

        Declaration of Jose Chavez in Support of Plaintiffs’ Notice of Motion and Motion for Preliminary Injunction; or in The
                                                                                   Alternative Motion For Summary Judgment
Case 3:19-cv-01226-L-AHG             Document 103-2            Filed 01/16/23         PageID.8688          Page 3
                                                of 3



   1   26915, inclusive). When I asked about buying a rifle, I was asked if I was 21. After
   2   informing the employee that I was 20 years old, I was informed that due to my age,
   3   Moreau Works LLC would not be able to sell or transfer any type of firearm to me.
   4           10.      Because the licensed dealer was prohibited from selling or transferring a
   5   firearm of any kind to me under Penal Code section 27510, I was denied the ability to
   6   exercise my Second Amendment rights, including the “right to use arms in self-
   7   defense of hearth and home.” Heller, 554 U.S. at 635.
   8           11.      I also confirmed my inability to purchase any firearm under California
   9   law due to my age in discussions with employees at least two other licensed dealers,
  10   Gunther’s Guns in Carlsbad, and Duncan Gun Works in San Marcos. This unlawful
  11   prohibition and infringement on my Second Amendment rights will continue until I
  12   am 21 years old.
  13           12.      Again, I was not seeking to purchase a firearm in order to hunt and I
  14   have no interest in using my firearm for hunting. I do not possess a valid, unexpired
  15   hunting license issued by the California Department of Fish and Wildlife. Thus, the
  16   extremely limited exemption under Penal Code section 27510(b)(1) is inapplicable to
  17   me. I am not an active or retired peace officer or federal officer. I am also not a
  18   current or retired member of the armed forces or reserves. I do not intend to enter into

  19   a highly dangerous career in law enforcement or the military and will not be forced to

  20   do so in order to exercise my Second Amendment rights. Thus, the illusory

  21   exceptions under Penal Code section 27510(b)(1)-(3) are inapplicable to me.

  22           I declare under penalty of perjury, under the laws of the United States, that the

  23   foregoing is true and correct and this declaration was executed on January 16, 2023 in

  24   San Diego, California.

  25

  26                                                       _____________________________________
                                                                          Jose Chavez
  27

  28

        Declaration of Jose Chavez in Support of Plaintiffs’ Notice of Motion and Motion for Preliminary Injunction; or in The
                                                                                   Alternative Motion For Summary Judgment
